                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO.3:10-00065
                                                  )      JUDGE CAMPBELL
QUINCY MARUICE FUQUA                              )

                                          ORDER

      Pending before the Court is Defendant Quincy Fuqua’s Motion to Allow Late Filing (Docket

No. 190). The Motion is GRANTED.

      It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00065       Document 191      Filed 11/14/12     Page 1 of 1 PageID #: 628
